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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                  *
                                          *
        v.                                *
                                          *           Criminal No. TDC-20-33
BRIAN MARK LEMLEY, JR.,                   *
PATRIK JORDAN MATHEWS, and                *
WILLIAM GARFIELD BILBROUGH                *
IV                                        *
                                          *
*   *        *    *   *   *   *   *   *       *   *   *    *   *   *    *      *   *


                    BRIAN MARK LEMLEY’S MOTION TO SUPPRESS
                 EVIDENCE SEIZED PURSUANT TO SEARCH WARRANTS
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                       *
                                               *
         v.                                    *
                                               *           Criminal No. TDC-20-33
BRIAN MARK LEMLEY, JR.,                        *
PATRIK JORDAN MATHEWS, and                     *
WILLIAM GARFIELD BILBROUGH                     *
IV                                             *
                                               *
*    *        *    *   *   *    *    *     *       *   *   *    *     *   *     *    *     *

                     BRIAN MARK LEMLEY’S MOTION TO SUPPRESS
                  EVIDENCE SEIZED PURSUANT TO SEARCH WARRANTS


         Defendant Brian Mark Lemley, Jr., through undersigned counsel, hereby moves this

Honorable Court to suppress evidence seized pursuant to search warrants as well as all

derivative evidence. During the investigation of the defendants in this case the government

used dozens of warrants to obtain extensive private information and used information

obtained illegally from earlier warrants to seek further private information, ultimately

obtaining authorization to take the unusual and highly intrusive step of clandestinely entering

Mr. Lemley’s apartment and installing audio and video monitoring equipment therein,

allowing agents to watch and listen to activity within the apartment for weeks. Countless

hours of recordings of activity and conversations within the apartment were made and line

sheets from that monitoring totaled over 1,000 pages.

         As will be demonstrated herein, the overarching problem with the applications and

supporting affidavits is that while they set forth evidence that Mr. Lemley associated with a

group that included members who used hateful and sometimes violent rhetoric, that he

attended meetings with these individuals where “training” occurred, and that he spent time



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with and lived with a man who had fled Canada after being revealed as a white nationalist,

they do not establish the requisite probable cause that Mr. Lemley or any co-defendant had

committed any of the target crimes listed in the affidavits. Further, agents turned to the

exceedingly intrusive approach of installing monitoring equipment within Mr. Lemley’s

apartment without exhausting other, less intrusive investigative methods. Finally, later

warrant affidavits relied upon evidence obtained in earlier searches not supported by

probable cause. All evidence obtained pursuant to these warrants must be suppressed.

I.     PROCEDURAL BACKGROUND
       A.     September 5, 2019 Warrant for Historical Information and Prospective
              Location Information from Phone Linked to Lemley

       On September 5, 2019 assistant U.S. attorneys in Maryland submitted an application

for an order requiring Verizon Wireless to disclose detailed records for a cellular phone

linked to Mr. Lemley, including subscriber, call detail, and cell tower information, for the

previous four months as well as all information about the location of the phone for 30 days

prospectively. 1 A supporting affidavit signed by FBI Special Agent Rachid Harrison asserted

that locating the telephone would show Mr. Lemley’s location and would lead to evidence

of three “Target Offenses”: inciting a riot, under 18 U.S.C. § 2101; conspiracy to commit

and attempt to commit a hate crime, under 18 U.S.C. §§ 371 and 249; and distribution of

controlled substances, under 21 U.S.C.. 9/5/19 Affidavit, attached as Exhibit A. Special

Agent Harrison asserted that the location of the telephone “will lead to locations where



1
 As the investigation into these defendants unfolded, affidavits submitted in support of the
challenged warrants built on previous affidavits, containing identical allegations and adding
additional evidence in later affidavits based upon the results of previous warrant searches
and investigation. The defense here describes each warrant application chronologically and
will seek to avoid repeating facts and arguments that apply to multiple applications.


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Lemley and other Base members conduct firearms and tactical training; locations at which

unidentified members of the Base reside; and locations where members of the Base store

narcotics, firearms, and promotional materials and manuals used to plan, coordinate, and

commit the Target Offenses.” Id. at 21.

       Special Agent Harrison’s affidavit began by asserting that Mr. Lemley was a member

of “The Base,” a “white supremacist organization” that “has proclaimed war against minority

communities within the United States and abroad.” Id. at 4. Base members allegedly used

encrypted chat rooms to discuss, “among other things, recruitment, creating a white ethno-

state, committing acts of violence against minority communities (including African-

Americans and Jewish-Americans), the Base’s military training camps, and ways to make

improvised explosive devices (‘IEDs’).” Id. According to a news article cited in the

affidavit, the Base’s founder, Rinaldo Nazzaro, told followers that “The Base is designed to

unite white nationalists to prepare for violent insurgency against various targets, including

the U.S. government and non-white minority groups.” Id. at 8. Some members of the Base,

unidentified by name, allegedly talked about “potential violence or ‘direct action’ against

minority groups” in a secure chat room. Id. at 9-10. The affidavit included various written

online posts attributed to Nazzaro discussing violence. Id. at 12-17.

       In addition to general background information about The Base, the affidavit asserted

that “an FBI Agent Undercover Employee (‘UCE’)” was admitted into The Base and was

permitted to join The Base’s APP-1 chat room.” Id. at 17. The UCE reported that Lemley,

using the moniker “cantgoback,” regularly communicated on APP-1 with other members of

The Base. Id. at 18. Without attributing any statement to Lemley in particular or indicating

whether Lemley participated in any identified discussion, the affidavit indicated that



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members of The Base discussed topics on APP-1 including “shooting it out with law

enforcement, suicide by cop; and the importance of not letting law enforcement take them

alive if they come with a warrant.” Id.

       According to the affidavit, Mr. Lemley attended a “regional training camp” in Georgia

from August 2 through August 4, 2019 at which members engaged in “tactical training and

firearm drills.” Id. at 19. The UCE claimed Lemley “offered Base members in attendance

at the training camp the Schedule II Controlled Substance Adderall, prior to training,” and

“[a]t least some members in attendance took the Adderall.” Id. In mid-August, 2019, Lemley

allegedly attended another Base “training camp” near Bangor, Pennsylvania. Id. at 20.

       B.     October 2, 2019 Warrants for Prospective Location Information from
              Phone Linked to Lemley and Location History Associated with Lemley
              Email

       On October 2, 2019, assistant U.S. attorneys in Maryland submitted an application

for an order requiring Verizon Wireless to provide information about the location of Mr.

Lemley’s phone for an additional 30 days and requiring Google to provide location history

from November 13, 2017 through the present associated with an email account linked to Mr.

Lemley and any devices associated with the account. A supporting affidavit signed by FBI

Special Agent Harrison asserted that locating the telephone and email would show Mr.

Lemley’s location and would lead to evidence of the three previously-identified “Target

Offenses,” and one added offense: bringing in and harboring certain aliens, under 8 U.S.C.

§ 1324. 10/2/19 Affidavit at 4, attached as Exhibit B.

       The October 2, 2019 affidavit largely repeated the information set forth in the earlier

September 5, 2019 affidavit, but added some additional information.         Specifically, the

affidavit indicated that Lemley’s target email account was linked to a Twitter account that



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contained posts and images of anti-Semitic and racist language, Base propaganda, and was

linked with known Base members. Id. at 21.

         The affidavit also identified co-defendant Patrik Mathews and alleged that Mr.

Lemley was playing a role in harboring him. The affidavit asserted that on August 19, 2019,

Canadian police searched the home of a Base member living in Winnipeg, Canada, identified

as Patrik Mathews. Id. at 24. The Canadian Armed Forces reportedly “relieved MATHEWS

of duty” shortly thereafter, and he was reported missing to the Canadian police on August

28, 2019. Id. On September 2, 2019, Canadian authorities discovered Mathews’ pickup

truck, which had been abandoned near the Manitoba-Minnesota border. Id. The affidavit

further asserted that:

         Based on conversations that took place on [a chat app] from late August and
         early September 2019, agents believed that MATHEWS may have crossed into
         the United States with the assistance of Base Members in the United States.
         Additionally, agents believed LEMLEY was harboring MATHEWS. Since
         being reported missing, MATHEWS did not enter the United States at a legal
         point of entry.

Id.

         The affidavit also relied on evidence discovered through execution of the September

5, 2019 warrant. The affidavit asserted that the phone linked to Mr. Lemley was located in

the area of Chincoteague Island, Virginia on at least two occasions in September, that Mr.

Lemley had been encountered with another white male by a park ranger on September 3,

2019, and that agents obtained photo and video footage of Mr. Lemley and a passenger agents

believed was Mathews at the Chesapeake Bay Bridge Tunnel on September 14, 2019. Id. at

25-26.     Phone records also suggested that Mr. Lemley arrived in Rome, Georgia in the

vicinity of a “known Base member’s residence,” early on the morning of September 15, 2019

and that he turned back towards Maryland approximately five hours after his arrival. Id. at


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26. Law enforcement saw Mr. Lemley on US Route 340 in Maryland, allegedly “en route to

his residence,” on the morning of September 16, 2019, and there did not appear to be any

passenger in his vehicle. Id. at 26.

       C.     October 18, 2019 Warrant for Information from Google Associated with
              Lemley Account

       On October 18, 2019, assistant U.S. attorneys in Maryland submitted an application

for an order requiring Google to produce extensive information from November 13, 2017

through the present for an account associated with Mr. Lemley, including contents of all e-

mails and chats, YouTube video upload history, all photographs, all search history, and all

location history. 10/18/19 Affidavit, attached as Exhibit C at 36-38. 2 A supporting affidavit

signed by FBI Special Agent Harrison asserted that these materials would lead to evidence

of the same four “Target Offenses.” Id. at 3.

       The October 18, 2019 affidavit largely repeated the information set forth in the earlier

October 2, 2019 affidavit, but added some additional information. The affidavit alleged that

during a discussion in a Base chat room in September 2019, Mr. Lemley wrote, “Hey mr fed”

and “I spent about 35% of my day daydreaming about killing you today,” and “I day dream

about killing so much that I frequently walk in the wront [sic] directions for extended periods

of time at work.” Id. at 20. The affidavit also relied upon information obtained through the

earlier October 2, 2019 warrant to Google for Mr. Lemley’s email. Google location records,

according to the affidavit, indicated that Mr. Lemley had picked up co-defendant William

Bilbrough en route to the August 2-4, 2019 “training camp” in Georgia. Id. at 21. Google




2
  The application also sought information related to a Gmail account associated with co-defendant
Bilbrough. For this and subsequent applications that also sought information about others, the
associated exhibits will not include attachments describing those materials.
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location records also indicated that Mr. Lemley traveled from Maryland to Howe, Indiana on

August 31, 2019, then to Chincoteague, Virginia. Id. at 25-26. Further, the affidavit

described locations transmitted by Mr. Lemley’s phone and additional location data from

Google obtained through the September 5, 2019 warrant to describe travel by Mr. Lemley to

allegedly pick up Mr. Mathews and take him to Georgia in mid-September. Id. at 27.

       D.     October 28, 2019 Warrants for Prospective Location Information from
              Phone, Information from Reagan.com Account and Twitter Account

       On October 28, 2019, assistant U.S. attorneys in Maryland submitted an application

for an order requiring Verizon Wireless to produce further prospective location information

for a phone linked to Mr. Lemley, and Reagan.com and Twitter to produce subscriber and

content information for accounts linked to Mr. Lemley. 10/28/19 Affidavit, attached as

Exhibit D. The affidavit submitted in support of the application essentially mirrored the

earlier October 2, 2019 affidavit, with some added facts establishing Mr. Lemley’s

connection to the Reagan.com and Twitter accounts.         The affidavit also relied upon

information obtained in reliance upon the October 18, 2019 warrant. See, e.g., Id. at 29-32

(describing contents of emails obtained in reliance upon 10/18/19 warrant to Google).

       E.     November 8, 2019 Warrant for Information from Lemley Google Account
              and Lemley Microsoft Account

       On November 8, 2019, assistant U.S. attorneys in Maryland submitted an application

for an order authorizing several warrants. Relevant to Mr. Lemley were two: the first to

Google to produce extensive information from October 18, 2019 through the present for an

account associated with Mr. Lemley, including contents of all e-mails and chats, YouTube

video upload history, all photographs, all search history, and all location history; and the

second to Microsoft to produce all records related to an email address associated with Mr.



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Lemley, including the content of all email communications. 11/9/19 Affidavit, attached as

Exhibit E. The affidavit submitted in support of the application essentially mirrored the

earlier October 28, 2019 affidavit, with some added facts obtained from earlier warrants. 3

Specifically, the affidavit described email communications linked to Mr. Lemley obtained

through the above October 28, 2019 warrant that were described as Mr. Lemley’s initial

contact with The Base. Id. at 47-48. The affidavit further reported that location information

from Lemley’s phone suggested that Lemley traveled to Georgia with Bilbrough to attend a

Base “training camp.” Id. at 49. The affidavit also described law enforcement surveillance

of Lemley and Mathews apparently renting an apartment in Delaware. Id. at 50-51.

       F.      November 18, 2019 Warrant for Prospective Location Information from
               Phone Linked to Lemley

       On November 18, 2019, assistant U.S. attorneys in Maryland submitted an application

for an order authorizing Verizon Wireless to produce additional prospective location

information for a phone linked to Mr. Lemley and other information related to the co-

defendants. 11/18/19 App., attached as Exhibit F. The affidavit was essentially identical to

the earlier warrant affidavits.

       G.      December 11, 2019 Video Warrant

       On December 11, 2019, assistant U.S. attorneys in Delaware submitted an application

for an order authorizing FBI agents to install a closed-circuit television in the apartment Mr.

Lemley and Mr. Mathews shared in Newark, Delaware. Video App., attached as Exhibit G,

at 1-5. The application asserted Lemley and Mathews were using the apartment to commit

certain “Target Offenses”: bringing in and harboring aliens, and conspiracy to do so, under



3
 The affidavit also “incorporated by reference” and attached as exhibits the October 18, 2019 and
October 22, 2019 affidavits discussed above.
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8 U.S.C. § 1324; possession of a firearm by an unlawful alien, under 18 U.S.C. § 922(g)(5);

aiding and abetting the preceding offenses, under 18 U.S.C. § 2; distribution of controlled

substances, under 21 U.S.C. § 841; inciting a riot, under 18 U.S.C. § 2101; attempt to commit

a hate crime, under 18 U.S.C. § 249; and conspiracy to commit violations of §§ 2101, 249,

922(g)(5). Id. at 2. It therefore sought permission to conduct “monitoring and recording of

visual, non-verbal conduct and activities by means of video surveillance.” Id. at 1. Agents

had rented an apartment adjacent to the apartment in which Mr. Lemley and Mr. Mathews

were living. Id. at 3. The government sought permission for law enforcement agents to

install surveillance equipment by drilling into the apartment through the wall of that adjacent

apartment. Id. They further requested permission to enter the apartment surreptitiously, by

breaking and entering on multiple occasions, if necessary, to install, maintain, and remove

electronic visual surveillance equipment. Id. at 4.

       A supporting affidavit signed by Agent Harrison was attached to the application that

contained the same information from the earlier affidavits as well as some additional

information.   The affidavit alleged that in late September and October 2019 Mathews

conducted internet searches for, among other things, “Build your own AR-15,” “Complete

AR-15 Firearms,” and “Ten D&H 5.56 30rd Aluminum Magazines & Ten Magpul PMAG

5.56 30rd Magazines –Accessories.” Id. at 48. Mathews had also allegedly searched for the

publication “The Siege,” a book authored by a man alleged to advocate for “violence to cause

destabilization in American society.” Id. at 49. The affidavit also described statements by

Mathews allegedly overheard by the UCE while Mathews was in Georgia. According to the

affidavit, the UCE heard Mathews say, among other things, that he had “fled Canada with

the help of other Base members after Canadian law enforcement seized [his] guns”; that he



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hoped to “mak[e] money in order to purchase firearms and body armor”; that he “wanted to

move north within the United States and find work that did not require a social security card”;

that, with respect to The Base’s “future operations,” “if he were told where to go, what to

do, and given a means to do it, he would do so”; and that once other “ghosts” (i.e., people

who wish to remain secret) joined The Base, they “could begin doing ‘jobs.’” Id. at 60-62.

       In addition, the affidavit asserted Mathews “received multiple emails from

Indeed.com regarding job searches and applications in the labor and construction industries.”

Id. at 49. Agent Harrison wrote that, “[i]n [his] training and experience, . . . sometimes

employers in those fields pay in cash and do not require proof of citizenship, which would

make them attractive to MATHEWS, who has no status to live or work in the United States.”

Id. at 49-50. Agent Harrison opined that Mathews “intended to acquire firearms to conduct

attacks and is actively discussing future attacks when physically present with like-minded

individuals – just as he is when he is inside the Target Residence with Lemley .” Id. at 63.

       H.     December 11, 2019 Sneak-and-Peek Warrant

       Later that day, Agent Harrison submitted an application to Judge Andrews for a

“sneak-and-peek” warrant, authorizing agents “to search the [Newark apartment] but not to

seize evidence.” Sneak-and-Peek App. at 3, attached as Exhibit H. The application, which

incorporated by reference the affidavit submitted in support of the video warrant, asserted

probable cause to believe a search of the apartment would reveal physical evidence of the

same Target Offenses. Id. at 3-4. Specifically, Agent Harrison claimed Lemley’s and

Mathews’ computer hard drives “or other storage media” might contain “records” or “data”

relevant to those offenses.    Id. at 4.   The application therefore sought permission to

“inspect[], photocopy[], photograph[], reproduc[e], and imag[e] any electronic storage media

(including computer hard drives and removable storage media), software, documents, and

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other tangible objects of any kind found within the [apartment].” Id. at 5. After Judge

Andrews signed the warrant, agents surreptitiously entered the apartment, searched it, copied

the contents of computer media, and installed surveillance equipment.

       I.      December 13, 2019 Warrant for Information from Lemley Google
               Account, Lemley Microsoft Account, and Prospective Location
               Information from Phone Linked to Lemley

       On December 13, 2019, assistant U.S. attorneys in Maryland submitted an application

for an order requiring Google to produce extensive information from November 8, 2019

through the present for an account associated with Mr. Lemley, including contents of all e-

mails and chats, YouTube video upload history, all photographs, all search history, and all

location history. 12/13/19 Affidavit., attached as Exhibit I. The application also sought

authorization for a warrant to Microsoft to produce all records from November 8, 2019

through the present related to an email address associated with Mr. Lemley, including the

content of all email communications. Id. Finally, the application sought authorization for

Verizon Wireless to produce prospective location information for a phone linked to Mr.

Lemley and other information related to the co-defendants. Id. The affidavit was essentially

identical to the earlier warrant affidavits.

       J.      December 18, 2019 Application for Title III Wiretap

       On December 18, 2019, assistant U.S. attorneys in Delaware submitted to Judge

Andrews an application for an order authorizing “the interception of oral communications.”

12/18/19 App. at 1-2, attached as Exhibit J. The application sought permission to wiretap

the Newark apartment using equipment that agents had previously installed when they

installed the video-surveillance equipment. Id. at 3-4. In support of that request, the

application asserted that Lemley and Mathews were using the Newark apartment to commit

a list of “Target Offenses,” and that audio surveillance of the apartment would reveal

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evidence of those crimes. Id. at 2-3. Those “Target Offenses” included all crimes identified

in the applications for the video and sneak-and-peek warrants, except for distributing

controlled substances under 21 U.S.C. § 841. Id. at 2.

       Attached to the application was an updated affidavit from Agent Harrison (the

“wiretap affidavit”).    That affidavit largely repeated the background information and

allegations in the video affidavit, but also included new facts learned through execution of

the video and sneak-and-peek warrants. Specifically, the wiretap affidavit alleged that, based

on their search of the apartment, agents believed Lemley slept in the unit’s only bedroom,

while Mathews slept on a bed in the living room. Wiretap Affidavit at 65. Agents found

Base “propaganda flyers, communication devices, and empty rifle cases” in the bedroom

closet. Id. On the floor of the apartment’s common area, they discovered a “pellet gun,”

which “[a]t first glance . . . looked like a real firearm.” Id. They also located an empty pistol

holster near a bet believed to be used by Mathews. Id. at 65. Video surveillance conducted

on December 13, 2019, showed Mathews “holding a revolver handgun while in conversation

with LEMLEY.” Id. at 70. Although they were not sure, agents believed that gun was the

pellet gun they observed on the floor. Id.

       In “a common area closet,” the affidavit asserted, agents discovered a box containing

“go bags” with Meals Ready to Eat and knives, and “certain necessary items to build an

assault rifle,” among them an upper receiver and a lower receiver of the same caliber. Id. at

66-67. The box also contained “drill shavings and drill bits,” which suggested to Agent

Harrison that someone had attempted to configure the parts into a working firearm. Id. at

68. In addition, the affidavit alleged agents found a piece of paper with a list of items near

Mathews’ bed; one of those items—“SKS,” which Agent Harrison believed to refer to the



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configured firearm—had been crossed out.         Id. at 65-66.   Agent Harrison claimed the

handwriting in the list was Mathews’, based on a comparison to a letter Mathews wrote his

father, which agents found in the apartment. Id.

       Finally, the wiretap affidavit alleged agents “obtained images” of Lemley’s and

Mathews’ “electronic devices.” Id. at 68. Mathews’ laptop allegedly contained “several

videos of himself making oral statements,” some of which discussed killing people in

furtherance of “the movement,” and including one in which he “discusse[d] his illegal

journey into the United States.” Id. at 68-69.

       K.     January 14, 2020 Warrant Authorizing Searches of Delaware Apartment
              and Lemley’s Truck

       On January 14, 2020, Delaware assistant U.S. attorneys submitted an application

requesting a search warrant for the Delaware apartment shared by Lemley and Mathews and

the truck used by Mr. Lemley. 1/14/20 Affidavit., attached as Exhibit K. An affidavit from

Special Agent Kristopher Long referenced an attached affidavit from Agent Harrison to

provide probable cause for the requested warrants. 1/9/20 Affidavit, included in Exhibit K.

That affidavit repeated the background information and allegations in the earlier affidavits,

much of which was based upon evidence obtained pursuant to earlier warrants, but also

included detailed accounts of statements and conduct by Lemley and Mathews recorded since

audio and video monitoring in the apartment began on December 13, 2019. Id. at 71-86. It

also listed additional target offenses, evidence of which was gathered during the surveillance

authorized by the video and wiretap warrants described above.

II.    ARGUMENT

       The affidavits submitted in support of the above warrant applications did not establish

probable cause to believe that Lemley, Mathews, or anyone else had committed any of the


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enumerated Target Offenses, or that evidence of those offenses would be found in the target

locations. All evidence seized pursuant to those warrants must therefore be suppressed. In

addition, illegally obtained evidence cannot contribute to probable cause in any subsequent

affidavits.

        A.    Legal Background

        “As a general rule, the Fourth Amendment requires that law enforcement searches be

accompanied by a warrant based on probable cause.” United States v. Kolsuz, 890 F.3d 133,

137 (4th Cir. 2018). A warrant is supported by probable cause if the facts alleged in the

affidavit establish “a fair probability that contraband or evidence of a crime will be found in

a particular place.”     United States v. Lyles, 910 F.3d 787, 791 (4th Cir. 2018).

“Probable cause only exists when an officer has a reasonable belief that a law has been

broken,” and an “officer cannot have a reasonable belief that a violation of the law occurred

when the acts to which an officer points as supporting probable cause are not prohibited by

law.”   United States v. Williams, 740 F.3d 308, 312 (4th Cir. 2014); see also Doe v.

Broderick, 225 F.3d 440, 452 (4th Cir. 2000) (“[A] mere hunch that illegal activity is afoot

will not provide a valid foundation for the issuance of a search warrant.”).

        “In general, evidence discovered as a result of a Fourth Amendment violation is

subject to suppression under the exclusionary rule.” United States v. Terry, 909 F.3d 716,

721 (4th Cir. 2018). That rule “encompasses both the primary evidence obtained as a direct

result of an illegal search or seizure and . . . evidence later discovered and found to be

derivative of an illegality.” Utah v. Strieff, 136 S. Ct. 2056, 2058 (2016).

        Title III of the Omnibus Crime Control and Safe Streets Act of 1968 “authorizes

federal judges to issue orders approving wiretaps when detailed statutory requirements are

met.” United States v. Brunson, --- F.3d ---, 2020 WL 4374972, at *1 (4th Cir. July 31,

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2020).    Relevant here, a court may authorize “interception of wire, oral, or electronic

communications” if it finds there is probable cause to believe that (1) “an individual is

committing, has committed, or is about to commit” certain enumerated crimes, and

(2) “particular communications concerning th[ose] offense[s] will be obtained through such

interception.” 18 U.S.C. § 2518(3)(a), (b). A defendant “may move to suppress the contents

of any wire or oral communication intercepted” pursuant to Title III if “the communication

was unlawfully intercepted.”     Id. § 2518(10)(a)(i).   A communication was “unlawfully

intercepted,” and therefore subject to suppression, if the application in support of the wiretap

order does not establish probable cause. See, e.g., United States v. Muldoon, 931 F.2d 282,

285 (4th Cir. 1991).

         Although it appears the Fourth Circuit has never decided the question, other courts

have held silent video surveillance is “neither prohibited nor regulated” by Title III. United

States v. Koyomejian, 970 F.2d 536, 537 (9th Cir. 1992) (en banc); see also, e.g., United

States v. Mesa-Rincon, 911 F.2d 1433, 1436-37 (10th Cir. 1990). Nevertheless, courts have

recognized that “[h]idden video surveillance is one of the most intrusive investigative

mechanisms available to law enforcement.” United States v. Nerber, 222 F.3d 597, 603 (9th

Cir. 2000); see also United States v. Falls, 34 F.3d 674, 680 (8th Cir. 1994) (“[S]ilent video

surveillance . . . results in a very serious, some say Orwellian, invasion of privacy.”); United

States v. Torres, 751 F.2d 875, 882 (7th Cir. 1984) (describing video surveillance as

“exceedingly intrusive”); United States v. Anderson-Bagshaw, 509 F. App’x 396, 421 (6th

Cir. 2012) (unpublished) (Moore, J., concurring in the judgment) (“As every court

considering the issue has noted, video surveillance can result in extraordinarily serious

intrusions into personal privacy.”). An order authorizing video surveillance is therefore



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invalid—and its fruits must be suppressed—if the supporting application fails to establish

probable cause. E.g., Koyomejian, 970 F.2d at 541-42; Mesa-Rincon, 911 F.2d at 1437-38;

Falls, 34 F.3d at 679-80; United States v. Larios, 593 F.3d 82, 91 n.8 (1st Cir. 2010).

       B.     Analysis

              1.      The Affidavits Failed to Establish Probable Cause

       The first warrant was issued on September 5, 2019 on the basis of Agent Harrison’s

affidavit, which asserted probable cause that the location information for Mr. Lemley’s

cellular telephone would reveal evidence of three “Target Offenses”: inciting a riot, under

18 U.S.C. § 2101; conspiracy to commit and attempt to commit a hate crime, under 18 U.S.C.

§§ 371 and 249; and distribution of controlled substances, under 21 U.S.C. § 841. 9/5/19

App. at 3-4. Subsequent warrant affidavits added additional “Target Offenses”: bringing in

and harboring aliens, and conspiracy to do so, under 8 U.S.C. § 1324; possession of a firearm

by an unlawful alien, under 18 U.S.C. § 922(g)(5); aiding and abetting the preceding

offenses, under 18 U.S.C. § 2; and conspiracy to commit violations of §§ 2101, 249,

922(g)(5). The affidavits contain information suggesting that Lemley was a member of The

Base, that some Base members espoused a white supremacist ideology and discussed violent

acts, that Mr. Lemley attended gatherings of Base members. Nevertheless, the affidavits do

not demonstrate probable cause to believe that Mr. Lemley or others had committed the target

offenses listed in each application, or that agents would find evidence of those crimes in the

target locations. Each target offense will be addressed in turn.

                      a.     Inciting a Riot

       The first Target Offense identified in the September 5, 2019 affidavit and those that

followed was inciting a riot, under 18 U.S.C. § 2101. That statute, known as the Anti-Riot

Act, provides, in relevant part:

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       Whoever travels in interstate or foreign commerce or uses any facility of
       interstate or foreign commerce, including, but not limited to, the mail,
       telegraph, telephone, radio, or television, with intent—

              (1) to incite a riot; or

              (2) to organize, promote, encourage, participate in, or carry on a riot;
                  or

              (3) to commit any act of violence in furtherance of a riot; or

              (4) to aid or abet any person in inciting or participating in or carrying
                  on a riot or committing any act of violence in furtherance of a riot;

       and who either during the course of any such travel or use or thereafter
       performs or attempts to perform any other overt act for any purpose specified
       in subparagraph (A), (B), (C), or (D) of this paragraph—

       Shall be fined under this title, or imprisoned not more than five years, or both.

§ 2101(a).

       The statute defines a “riot” as:

       a public disturbance involving (1) an act or acts of violence by one or more
       persons part of an assemblage of three or more persons, which act or acts shall
       constitute a clear and present danger of, or shall result in, damage or injury to
       the property of any other person or to the person of any other individual or (2)
       a threat or threats of the commission of an act or acts of violence by one or
       more persons part of an assemblage of three or more persons having,
       individually or collectively, the ability of immediate execution of such threat
       or threats, where the performance of the threatened act or acts of violence
       would constitute a clear and present danger of, or would result in, damage or
       injury to the property of any other person or to the person of any other
       individual.

18 U.S.C. § 2102(a). “The statute requires the government to prove a defendant’s intent at

two points in time—when the defendant uses a facility of interstate commerce with the intent

to incite a riot, and when the defendant commits an overt act to further any of the purposes

articulated in subparagraphs (A) through (D).” United States v. Markiewicz, 978 F.2d 786,

813 (2d Cir. 1992).      In addition, “the overt acts themselves . . . necessarily must . . .

constitute a clear and present danger.” United States v. Daley, 378 F. Supp. 3d 539, 556


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(W.D. Va. 2019). There must be “a sufficiently close relationship to imminent violence or

lawless action.” Id.

       The September 5, 2019 affidavit and all subsequent affidavits are devoid of any facts

indicating that Lemley traveled across state lines or used any facility of interstate commerce

with the intent to incite or participate in a “public disturbance” involving actual or threatened

“acts of violence” that constituted “a clear and present danger.” The affidavits assert that in

early August 2019, Lemley traveled to Georgia to participate in a Base “training camp,”

where he participated in “tactical training and firearm drills.” See, e.g., Ex. A, 9/5/19 App.

at 19. He also allegedly traveled to another training camp in Pennsylvania later that month.

Id. at 20.

       These allegations—the only part of the affidavits arguably relevant to § 2101—do not

demonstrate that Lemley intended to incite or participate in a “public disturbance.”

§ 2102(a). Even if it could be argued that Mr. Lemley’s alleged participation in chat rooms

or trainings show that Lemley wished to participate in The Base’s “future operations,” the

affidavits fail to show that such operations would consist of groups of “three or more

persons” who would pose, or threaten to pose, a “clear and present danger” of bodily injury

or property damage. Much less do they establish that Lemley actually performed an “overt

act” that itself “constitute[d] a clear and present danger.” Daley, 378 F. Supp. 3d at 556.

The affidavits do not support probable cause as to the offense of inciting a riot.

                       b.    Conspiracy and Attempt to Commit a Hate Crime

       The second target offense identified in the September 5, 2019 affidavit and those that

followed is attempt to commit a hate crime. Under 18 U.S.C. § 249, it is illegal to “willfully

cause[] bodily injury to any person or, through the use of fire, a firearm, a dangerous weapon,

or an explosive or incendiary device, attempt[] to cause bodily injury to any person” because

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of the victim’s race, color, national origin, or various other characteristics. None of the

affidavits submitted in support of the above search warrant applications establishes probable

cause to believe Lemley or others committed this offense.

       “An attempt to commit a crime, which is recognized as a crime distinct from the crime

intended by the attempt, punishes conduct that puts in motion events that would, from the

defendant’s point of view, result in the commission of a crime but for some intervening

circumstance.” United States v. Pratt, 351 F.3d 131, 135 (4th Cir. 2003). To convict a

defendant of attempt, the government must show he took a “substantial step” toward

commission of a substantive offense. United States v. Sterling, 860 F.3d 233, 242 (4th Cir.

2017). A “substantial step is a direct act in a course of conduct planned to culminate in

commission of a crime that is strongly corroborative of the defendant’s criminal purpose. It

is more than mere preparation but less . . . than completion of the crime.” United States v.

Engle, 676 F.3d 405, 423 (4th Cir. 2012) (ellipsis in original).

       Nothing in the above affidavits demonstrates that Lemley “put in motion” events that

would have resulted in a hate crime, “but for some intervening circumstances.” Pratt, 351

F.3d at 135. There was no “substantial step” toward commission of a hate crime that

constituted “more than mere preparation.” Engle, 676 F.3d at 423. The affidavits do not

even indicate Lemley devised a plan to commit a hate crime, much less that he began to

execute that plan. Although the affidavits suggest Mr. Lemley was involved with a group

that harbored white-supremacist views, harboring such views is not prohibited by § 249.

                     c.      Distribution of Controlled Substances

       The September 5, 2019 affidavit and the subsequent affidavits claim probable cause

to believe searches of the target locations would lead to evidence of Mr. Lemley’s

commission of the offense of distribution of controlled substances in violation of 21 U.S.C.

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§ 841. The only part of the affidavits that even tangentially relates to this offense is the

allegation that at a training camp conducted by The Base, Lemley “offered Base members

. . . the Schedule II Controlled Substance Adderall, prior to training,” and “[a]t least some

members in attendance took the Adderall.” Ex. A at 19. There is no allegation that Lemley

ever possessed or distributed any controlled substances on any other occasions.

       At most, the affidavits establish that Mr. Lemley provided an unknown number of

Adderall pills for consumption to some unknown number of Base members who attended a

“training camp” on August 3-4, 2019. There is no indication that Mr. Lemley or any other

member of the Base were involved in trafficking controlled substances, that trafficking in

controlled substances was an activity promoted by or engaged in by members of the Base, or

that Mr. Lemley’s purported offer of Adderall pills to other members at a training was

anything more than a one-time incident. 4            Moreover, “time is a crucial element

of probable cause.”    United States v. Richardson, 607 F.3d 357, 370 (4th Cir. 2010).

Accordingly, a “valid search warrant may issue only upon allegations of facts so closely

related to the time of the issue of the warrant as to justify a finding of probable cause at that

time.” United States v. Bosyk, 933 F.3d 319, 330 (4th Cir. 2019) (emphasis added). An

allegation of a one-time use of a controlled substance was undoubtedly “stale” by the time

Agent Harrison submitted the affidavits. Id. 5 The affidavits therefore failed to establish

probable cause of drug distribution or that evidence of drug distribution would be found.



4
  Tellingly, the wiretap affidavit, discussed infra, does not assert probable cause to believe the
apartment would contain evidence of drug distribution. Exh. J at 2.
5
  The January 14, 2020 affidavit submitted in support of the search of the Delaware residence
alleged that on December 21, 2019, after the issuance of most of the challenged warrants,
Mathews, Bilbrough, and Lemley participated in the manufacture of the controlled substance
DMT. Exhibit K at 74. However, that evidence was only used in support of the Delaware
residence search and was the fruit of illegal video and audio surveillance challenged herein.
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                     d.        Bringing in and Harboring Unlawful Aliens

       The October 2, 2019 warrant application added the target offense of bringing in and

harboring unlawful aliens, under 8 U.S.C. § 1324 and that target offense was included in all

subsequent affidavits. Ex. B at 4. Section 1324(a)(1)(A) contains four subsections that each

prohibit a specified action with respect to unlawful aliens, as well as two subsections that

prohibit aiding and abetting and conspiring to commit the substantive offenses. Although

the challenged affidavits do not identify which subsections Agent Harrison believed agents

would find evidence of, it appears to have been referencing § 1324(a)(1)(A)(i) and

§ 1324(a)(1)(A)(iii), which contain language used in the affidavits. The former provides

penalties for anyone who, “knowing that a person is an alien, brings to or attempts to bring

to the United States in any manner whatsoever such person at a place other than a designated

port of entry”; the latter covers anyone who, “knowing or in reckless disregard of the fact

that an alien has come to, entered, or remains in the United States in violation of law,

conceals, harbors, or shields from detection, or attempts to conceal, harbor, or shield from

detection, such alien in any place, including any building or any means of transportation.”

In addition, § 1324(a)(1)(A)(v)(I) criminalizes conspiracy to commit either offense. The

challenged affidavits do not give rise to probable cause to believe either Lemley or Mathews

had committed any of these offenses.

                          i.         Bringing in aliens

       With respect to the “bringing in” prong of § 1324(a)(1)(A), there is nothing in the

affidavits to suggest Lemley transported Mathews across the U.S.-Canada border or

otherwise took him into this country. See United States v. Flores-Blanco, 623 F.3d 912, 920

(9th Cir. 2010) (noting a “brings to” violation generally requires evidence that a defendant

“physically transport[ed] aliens across the border”). The affidavits allege that Canadian

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police searched Mathews’ home on August 19, 2019; that he was reported missing to the

Canadian police on August 28th; that his truck was found abandoned near the Manitoba-

Minnesota border on September 2nd; and that agents believed, based on conversations among

Base members between late August and early September, that Mathews “may have crossed

into the United States with the assistance of Base Members in the United States.” See, e.g.,

Ex. G at 40-41. In addition, they assert that on August 31st, Lemley traveled from Maryland

to Howe, Indiana, where he “remained . . . for approximately two hours” before driving to

Chincoteague, Virginia. Id. at 41-42.

       None of these facts suggests anyone “brought” Mathews into the United States. Even

assuming Lemley drove to Indiana to pick up Mathews, it does not follow that he brought

Mathews into the country. Indiana is hundreds of miles from the Minnesota border, where

Mathews apparently crossed into the United States, and Google location records—which

agents used to track Lemley to Indiana—do not indicate he went any farther west or north.

Ex. G at 47-48. See United States v. Lopez, 484 F.3d 1186, 1199-1200 (9th Cir. 2007) (en

banc) (“The mere act of picking up aliens at a location near the border and transporting them

within the United States is not sufficient to support a conviction for aiding and abetting a

‘brings to’ offense.”).

       The affidavit’s allegation that Mathews “may have crossed into the United States with

the assistance of Base Members” does not change the analysis. For one thing, the affidavit

does not allege Lemley was among the members who assisted Mathews in crossing the

border. If Agent Harrison had had reason to believe Lemley, specifically, was involved in

bringing Mathews into the United States, he no doubt would have included this fact in the

affidavit. But he did not. Moreover, although this allegation is not precisely worded, it



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appears to suggest only that members of the Base picked up Mathews after he crossed the

border; it does not indicate any Base members actually “physically transport[ed]” him across

the border themselves. Flores-Blanco, 623 F.3d at 920.

       And in any event, even if the affidavits established that Lemley or some other Base

member brought Mathews into the United States, it does not demonstrate a nexus between

that offense and the Newark apartment. “The critical element in a reasonable search is not

that the owner of the property is suspected of crime but that there is reasonable cause to

believe that the specific ‘things’ to be searched for and seized are located on the property to

which entry is sought.”      United States v. Doyle, 650 F.3d 460, 471 (4th Cir. 2011).

“Accordingly, residential searches have been upheld only where some information links the

criminal activity to the defendant’s residence.” Id. Here, the affidavits do not describe what

evidence of “bringing” Mathews into the United States would consist of. Nor does it give

any reason to believe that evidence of that offense—whatever form it might take—would be

found in the apartment. The requisite “nexus” is absent. Id.

                           ii.      Harboring Aliens

       The affidavits similarly fail to demonstrate probable cause as to concealing,

harboring, or shielding aliens from detection.

       First, to establish harboring, the government must show a defendant knew or

recklessly disregarded the fact that an alien “has come to, entered, or remains in the United

States in violation of law.” § 1324(a)(1)(A)(iii). “A defendant acts with reckless disregard

where [he] is aware of but consciously ignores facts and circumstances clearly indicating

that an individual is an undocumented alien.” United States v. Aguilar, 477 F. App’x 1000,

1002 (4th Cir. 2012) (unpublished). Assuming for sake of argument that Mathews entered



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the United States illegally, nothing in the affidavits indicates Lemley knew of or recklessly

disregarded this fact.

       The only portion of the affidavits that even comes close to addressing this issue is the

allegation that Lemley, Mathews, and the UCE talked about a Vice article titled “U.S. Neo-

Nazi Terror Group Harboring Missing Ex-Canadian Soldier: Sources.” See, e.g., Ex G. at

58-59. That article, according to the video affidavit, “discusse[d], among other things,

MATHEWS and his disappearance, and information to suggest members of The Base [we]re

harboring MATHEWS in the United States and taking steps to conceal his location.” Id. at

58. Notwithstanding that the article mentioned “harboring” and “conceal[ing]” Mathews, it

does not suggest he was in the United States illegally. The affidavit elsewhere asserts that a

Canadian newspaper had revealed Mathews as a member of The Base, that Canadian police

searched his home, that the Canadian Armed Forces had “relieved MATHEWS of duty,” and

that Mathews had been “reported missing” to Canadian police. Id. at 40. Mathews, in other

words, was wanted by Canadian authorities because of his connections to a supposed “Neo-

Nazi Terror Group.” Under these circumstances, there is no reason to believe that the

“harboring” mentioned in the Vice article had anything to do with Mathews’ supposed

unlawful immigration status, or even that the article mentioned that status.

       The video affidavit and those thereafter also claim the UCE heard Mathews say he

“wanted to move north within the United States and find work that did not require a social

security card.” Id. at 60. This statement might suggest Mathews lacked legal authorization

to work in the United States. But even if lack of work authorization is the same thing as

unlawful presence—which it is not—the affidavit does not indicate Lemley was present when




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Mathews made this statement, and there is no reason to impute knowledge of the statement

to Lemley.

       The insufficiency of the affidavits on this point is clear from the December 18, 2019

affidavit Agent Harrison submitted in support of the wiretap order (the “wiretap affidavit”).

In the latter affidavit, Agent Harrison wrote that intercepting oral communications within the

Newark apartment was necessary because it would produce evidence of “LEMLEY’s

knowledge of MATHEWS’s unlawful presence in the United States.” Ex J. at 64. That

investigators believed—even after executing the video and sneak-and-peek warrants—that

they lacked evidence of Lemley’s knowledge confirms that the affidavits did not establish

that element of § 1324(a)(1)(A)(iii).

       Second, to sustain a conviction under § 1324(a)(1)(A)(iii), “the government must

prove conduct tending substantially to facilitate an alien’s remaining in the United States

illegally and to prevent government authorities from detecting the alien’s unlawful

presence.” United States v. Silveus, 542 F.3d 993, 1003 (3d Cir. 2008). Harboring, in other

words, “encompass[es] an element of concealment” or “evading detection.” United States v.

Vargas-Cordon, 733 F.3d 366, 381 (2d Cir. 2013). In a harboring conviction, “the illegal

status of the alien is inseparable from the decision to provide housing—it is a decision to

provide a refuge for an illegal alien because he’s an illegal alien.” United States v. Costello,

666 F.3d 1040, 1045 (7th Cir. 2012) (emphasis in original).

       The Second Circuit has explained:

       To “harbor” under § 1324, a defendant must engage in conduct that is intended
       both to substantially help an unlawfully present alien remain in the United
       States—such as by providing him with shelter, money, or other material
       comfort—and also is intended to help prevent the detection of the alien by the
       authorities. The mere act of providing shelter to an alien, when done without



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       intention to help prevent the alien’s detection by immigration authorities or
       police, is thus not an offense under § 1324(a)(1)(A)(iii).

Vargas-Cordon, 733 F.3d at 382; see also Silveus, 542 F.3d at 1003 (noting “cohabitation

with [an alien], taken alone, does not constitute ‘harboring’ within the meaning of the statute”

and holding “[r]easonable control of the premises” where an alien stays is insufficient to

prove harboring); Costello, 666 F.3d at 1044 (“‘[H]arboring,’ as the word is actually used,

has a connotation—which ‘sheltering,’ and a fortiori ‘giving a person a place to stay’—does

not, of deliberately safeguarding members of a specified group from the authorities, whether

through concealment, movement to a safe location, or physical protection.”); United States

v. Anderton, 901 F.3d 278, 284 (5th Cir. 2018) (“[F]urnishing housing without more is not

illegal ‘harboring’ under Section 1324(a).”).

       The latter affidavits assert Lemley rented an apartment at which he and Mathews lived

together beginning in November 2019. See, e.g., Ex. G at 53-57. But it does not suggest

Lemley tried to “conceal[]” Mathews there or housed Mathews so he could “evad[e]

detection.” Vargas-Cordon, 733 F.3d at 381. Indeed, the affidavit includes facts that

demonstrate Lemley and Mathews were living openly at the apartment, without attempting

to hide Mathews’ presence. The affidavit asserts, for example, that “law enforcement agents

have observed [Lemley and Mathews] entering the [apartment] on a regular basis,” and that

on multiple occasions agents saw the two men sitting in a car outside the apartment for

extended periods of time. Id. at 57-58. These actions are inconsistent with an attempt to

“conceal[]” Mathews or “evad[e] detection.”

       Moreover, even if Lemley was concealing Mathews, the affidavit offers no basis to

conclude Lemley did so “because he’s an illegal alien.”          Costello, 666 F.3d at 1045

(emphasis in original). As explained above, there is no evidence Lemley was even aware of


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Mathews’ illegal-immigration status. And to the extent he was, it is unlikely, bordering on

implausible, that Lemley concealed Mathews for fear that immigration officials would

realize Mathews had entered the country outside a legal point of entry. The far more

reasonable inference to draw from the affidavit is that Lemley was concealing Mathews

because he was wanted by Canadian authorities and because both men were members of an

organization that wanted to keep its operations hidden from law enforcement.

       As to harboring, the later wiretap affidavit contains only one additional fact arguably

relevant to Lemley’s knowledge of Mathews’ unlawful immigration status. The affidavit

explains that during execution of the sneak-and-peek warrant, agents “obtained images” of

Mathews’ laptop, which contained a video in which he “discusses his illegal journey into the

United States.” Ex. J at 68. The affidavit does not assert, or give any reason to believe, that

Lemley was aware of or had viewed this video. Thus the video’s existence is irrelevant to

determining whether Lemley knew Mathews was in the country illegally.

                     e.      Conspiracy

       The affidavits also do not give rise to probable cause to believe the Newark apartment

would contain evidence of a conspiracy to “bring” Mathews to the United States or to

“harbor” him here. “To establish an alien smuggling conspiracy [under § 1324(a)(1)(A)],

the government must prove an agreement to carry out one of the substantive offenses, and

that [the defendant] had the intent necessary to commit the underlying offense.” United

States v. Torralba-Mendia, 784 F.3d 652, 663 (9th Cir. 2015); accord United States v.

Camara, 908 F.3d 41, 46 (4th Cir. 2018) (noting that under general conspiracy statute, 18

U.S.C. § 371, a conspiracy requires proof of an unlawful agreement to commit an offense

and the defendant’s knowing and willing participation in the conspiracy). “The presence of

a knowing and voluntary agreement distinguishes conspiracy from the completed crime and

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is therefore an essential element of the crime of conspiracy.” United States v. Hackley, 662

F.3d 671, 679 (4th Cir. 2011).

       Here, the affidavits do nothing to suggest Lemley agreed to “bring” Mathews to the

United States. There is no allegation that he was part of the process by which The Base

decided to “physically transport” Mathews into the United States. Flores-Blanco, 623 F.3d

at 920. To the extent the affidavits indicate Mathews entered into an agreement with other

Base members to “bring” him into the country, the affidavits do not supply a nexus between

that crime and the Newark apartment. Doyle, 650 F.3d at 471. Nothing in the affidavits, in

other words, indicates that any evidence of such an agreement even exists, much less provide

any reason to believe it would be located in the apartment.

       Nor do the affidavits indicate Lemley and Mathews agreed to harbor Mathews in that

apartment. As explained above, the affidavits do not establish that Lemley knew of or

recklessly disregarded Mathews’ illegal immigration status. He therefore could not have

entered into an agreement to harbor Mathews “knowing or in reckless disregard of the fact

that [Mathews] ha[d] come to, entered, or remain[ed] in the United States in violation of

law.” § 1324(a)(1)(A)(iii). And even assuming the two men agreed that Mathews would

stay at an apartment rented by Lemley, there are no facts in the affidavit suggesting they

acted with the “intention to help prevent [Mathews’] detection by immigration authorities or

police.” Vargas-Cordon, 733 F.3d at 382. That is, the affidavit does not indicate they agreed

to harbor Mathews “because he’s an illegal alien.” Costello, 666 F.3d at 1045 (emphasis in

original).

                     f.     Possession of a Firearm by an Unlawful Alien

       The December 11, 2019 affidavit seeking permission to install a video camera in Mr.

Lemley’s apartment added the claim that the Newark apartment contained evidence of a

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violation of § 922(g)(5). Exh. G at 2. That statute prohibits firearm possession by any

“alien” who (1) “is illegally or unlawfully in the United States,” or (2) “has been admitted

to the United States under a nonimmigrant visa.” For two independently sufficient reasons,

the December 11, 2019 affidavit and those after it were inadequate to establish probable

cause that Mr. Lemley violated this statute.

       First, the December 11, 2019 affidavit does not give rise to probable cause to believe

Mathews possessed a firearm while staying in the Newark apartment. The affidavit asserts

that the UCE heard Mathews say he had “future intentions of . . . acquiring firearms” and

that Mathews wanted to “mak[e] money in order to purchase firearms.” Id. at 60-61.

Mathews also allegedly said “that if he were told where to go, what to do, and given a means

to do it, he would do so,” and that he wanted to “begin doing ‘jobs’” for The Base. Id. at 61-

62.   In addition, the affidavit claims that Mathews’ “internet searches corroborate the

statements he made about his desire to obtain firearms and tactical gear for operational

purposes.” Id. at 63.

       These facts demonstrate, at most, that Mathews wanted to obtain a gun, or that he

intended to do so at some future time. They do not add up to an allegation that Mathews had

in fact acquired a gun by the time the video affidavit was written. Indeed, in the video

affidavit Agent Harrison asserts, based on his “training and experience,” that he “believe[s]

that MATHEWS intends to acquire firearms to conduct attacks.” Id. at 63 (emphasis added).

Thus the affidavit itself acknowledges Mathews did not yet possess a firearm. Probable

cause, however, “only exists when an officer has a reasonable belief that a law has been

broken,” and an “officer cannot have a reasonable belief that a violation of the law occurred

when the acts to which an officer points as supporting probable cause are not prohibited by



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law.” Williams, 740 F.3d at 312 (emphasis added). The video affidavit does not show that

§ 922(g)(5) “ha[d] been broken”; it shows only that Mathews wanted or intended to acquire

a gun, which is “not prohibited by law.” Id.

       Second, in a § 922(g) prosecution, “the Government must prove both that the

defendant knew he possessed a firearm and that he knew he belonged to the relevant category

of persons barred from possessing a firearm.” Rehaif v. United States, 139 S. Ct. 2191, 2200

(2019). A conviction in this case would therefore require proof that Mathews knew he was

in the United States illegally or, under an aiding-and-abetting theory, that Lemley knew that

fact. See id. at 2195.

       The video affidavit does not assert Mathews knew he was in the country illegally.

The most it alleges is that Mathews said he wanted to find a job that did not require a Social

Security card. Ex. G at 60. This fact means, at most, that Mathews was not a citizen and

was not authorized to work here. But lack of work authorization is not the same as unlawful

presence in the United States; an alien who is in the country legally may nevertheless be

unauthorized to accept employment while here. And as explained above, the affidavit also

does not establish that Lemley knew Mathews was in the country illegally. Thus the affidavit

does not demonstrate probable cause to believe § 922(g)(5) “ha[d] been broken.” Williams,

740 F.3d at 312.

       The wiretap affidavit does contain several additional facts, beyond those in the video

affidavit, that relate to possible firearm possession by Mathews. Specifically, the wiretap

affidavit alleges that,

           •   During execution of the sneak-and-peek warrant, agents searched Lemley’s
               bedroom closet, where they found “empty rifle cases,” among other things.
               Ex. J at 65.



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          •   On the floor of the apartment’s common area, agents discovered a pellet gun
              that “looked like a real firearm.” Id.

          •   An empty pistol holster “was located near [Mathews’] bed.” Id.

          •   In a closet in the apartment’s common area, agents found “certain necessary
              items to build an assault rifle,” including an upper receiver and lower receiver.
              The box in which those items were stored contained “drill shavings and drill
              bits,” which suggested someone had already assembled the components into a
              firearm. Id. at 67-68.

          •   Agents found a list, supposedly written in Mathews’ handwriting, that they
              believed contained “items that MATHEWS has acquired or is attempting to
              acquire.” One of those items was written as “SKS,” which agents believed
              was the assembled firearm. That item had been crossed off the list. Id. at 65-
              66.

          •   During agents’ video surveillance on December 13, 2019, “MATHEWS was
              observed holding a revolver handgun while in conversation with LEMLEY.”
              Agents believed the handgun “could be” the pellet gun mentioned above. Id.
              at 70.

       Investigators, however, obtained all of this evidence pursuant to either the video

warrant or the sneak-and-peek warrant. Because those warrants were invalid, the above facts

must be scrubbed from the wiretap affidavit when determining the adequacy of probable

cause. DeQuasie, 373 F.3d at 520. Without these additional facts, the wiretap affidavit

contains only the information recited in the video affidavit, which, as explained above, does

not add up to probable cause.

                     g.      Attempt to Commit a Hate Crime

       The last substantive offense identified in the December 11, 2019 video affidavit is

attempt to commit a hate crime. Ex. G at 2. Under 18 U.S.C. § 249, it is illegal to “willfully

cause[] bodily injury to any person or, through the use of fire, a firearm, a dangerous weapon,

or an explosive or incendiary device, attempt[] to cause bodily injury to any person” because

of the victim’s race, color, national origin, or various other characteristics. The video



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affidavit and those thereafter do not establish probable cause to believe Lemley or Mathews

committed this offense.

       “An attempt to commit a crime, which is recognized as a crime distinct from the crime

intended by the attempt, punishes conduct that puts in motion events that would, from the

defendant’s point of view, result in the commission of a crime but for some intervening

circumstance.” United States v. Pratt, 351 F.3d 131, 135 (4th Cir. 2003). To convict a

defendant of attempt, the government must show he took a “substantial step” toward

commission of a substantive offense. United States v. Sterling, 860 F.3d 233, 242 (4th Cir.

2017). A “substantial step is a direct act in a course of conduct planned to culminate in

commission of a crime that is strongly corroborative of the defendant’s criminal purpose. It

is more than mere preparation but less . . . than completion of the crime.” United States v.

Engle, 676 F.3d 405, 423 (4th Cir. 2012) (ellipsis in original).

       Nothing in the video affidavit or those that followed it demonstrates that Lemley or

Mathews “put in motion” events that would have resulted in a hate crime, “but for some

intervening circumstances.” Pratt, 351 F.3d at 135. There was no “substantial step” toward

commission of a hate crime that constituted “more than mere preparation.” Engle, 676 F.3d

at 423. The affidavit does not even indicate Lemley or Mathews devised a plan to commit a

hate crime, much less that they began to execute that plan. Although the affidavit suggests

the two men held white-supremacist views, harboring such views is not prohibited by § 249.

                     h.      Conspiracy to violate §§ 2101, 249, and 922(g)(5)

       Finally, the video affidavit and those that followed it asserts probable cause to believe

the Newark apartment contains evidence of a conspiracy to violate § 2101 (inciting a riot),

§ 249 (hate crimes), and § 922(g)(5) (possession of a firearm by an unlawful alien). Video

App. at 8. Mr. Lemley is unaware of any facts in the affidavit that would support this

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assertion. To the extent the government argues in its response that probable cause exists as

to these offenses, Lemley will address that argument in his reply.

               2.      The Video and Wiretap Affidavits Failed to Establish Necessity

       It should go without saying that surreptitious placement of audio and video recording

equipment inside a private home allowing law enforcement to monitor all activity within that

home for a period of weeks amounts to an extraordinary invasion of privacy. In these

circumstances, courts have required, at a minimum, proof that “normal investigative

procedures have been tried and have failed or reasonably appear to be unlikely to succeed if

tried or to be too dangerous.” See, e.g., Koyomejian, 970 F.2d at 541-42; Mesa-Rincon, 911

F.2d at 1437-38; Falls, 34 F.3d at 680. This requirement is drawn from the wiretap statute

at 18 U.S.C. § 2518(1)(c).         The “necessity” requirements are designed to ensure that

“wiretapping is not resorted to in situations where traditional investigative techniques would

suffice to expose the crime.” United States v. Kahn, 415 U.S. 143, 153 n.12 (1974). Because the

necessity requirement is of such importance, courts closely examine challenges for noncompliance

and reject applications that misstate or overstate the difficulties involved. United States v. Lyons,

507 F.Supp. 551, 555 (D. Md. 1981). The Fourth Circuit, in particular, has mandated that the

government’s burden cannot be met “through a mere boilerplate recitation of the difficulties of

gathering useful evidence.” United States v. Leavis, 853 F.2d 215, 221 (4th Cir. 1988).

       The video and wiretap affidavits here failed to meet this high bar. The affidavits failed to

adequately demonstrate that other investigative techniques had been tried in good faith and had

been given enough time to achieve their stated purposes before the government turned to the

extremely intrusive approach of installing monitoring equipment within the apartment. Nor did

the government explain convincingly why untried investigative techniques would not likely



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have succeeded had they been tried or allowed to continue. For example, the investigating

agents had made effective use of a confidential informant in this case and the affidavits fail to

adequately explain why that investigative tactic was unlikely to succeed. The UCE had attended

Base “training camps” with Lemley, Mathews, and others and had been able to record hours of

conversations during which participants spoke without any evident discretion. He participated in

private Base chat rooms. He communicated with Mathews and Lemley using an encrypted

communication platform and was able to record that conversation. Further, there can be no

suggestion that the UCE was not permitted to enter Lemley and Mathews’ apartment. The

affidavits make no mention of any effort to have the UCE visit the apartment prior to the time the

affidavits were prepared. In fact, the UCE later visited Lemley and Mathews on January 11, 2020

and spent hours inside the apartment discussing Base activities, all while wearing a wire.

       In sum, the defense has no quarrel with the proposition that use of audio and video

surveillance within the apartment offered opportunities to learn more information about what

Lemley and Mathews were doing. But that is not the test under 18 U.S.C. § 2518. It is well

established that electronic interceptions cannot be permitted if “traditional investigative techniques

would suffice to expose the crime.” Kahn, 415 U.S. at 153 & n.12. Here, it is clear that although

invasive surveillance had the potential to yield further information, traditional investigative

techniques were more than sufficient.

               3.      Evidence Seized Pursuant to the Subsequent Search Warrants Is
                       Inadmissible.

       The exclusionary rule “reaches not only primary evidence obtained as a direct result

of an illegal search or seizure, but also evidence later discovered and found to be derivative

of an illegality or fruit of the poisonous tree.” United States v. DeQuasie, 373 F.3d 509, 519

(4th Cir. 2004). When a warrant affidavit contains information obtained pursuant to a prior


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warrant that issued in violation of the Fourth Amendment, courts cannot consider that

information when deciding whether the second affidavit is sufficient. Id. Evidence seized

pursuant to warrants following the initial September 5, 2019 warrant is inadmissible under

this “derivative evidence” principle. The affidavits in support of those latter warrants contain

much of the same background information that is in the September 5, 2019 affidavit. Apart

from repeating this background information, the follow-up applications rely largely upon

evidence obtained during execution of warrants that preceded them. Evidence seized during

execution of the subsequent warrants—the probable cause for which relied on that “fruit of

the poisonous tree”—is therefore “derivative of [the] illegality” underlying the initial

warrant. DeQuasie, 373 F.3d at 519. As a result, evidence from the latter searches must also

be suppressed.

III.   CONCLUSION

       For the reasons described above, this Court should suppress all evidence seized pursuant

to the eleven search warrants challenged herein.

                                             Respectfully submitted,

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